USCA4 Appeal: 23-1890   Doc: 99        Filed: 10/30/2023   Pg: 1 of 34




                                          No. 23-1890


                  In the United States Court of Appeals
                          for the Fourth Circuit

                                   TAMER MAHMOUD, et al.,
                                              Plaintiffs-Appellants,
                                               v.
                                  MONIFA B. MCKNIGHT, et al.,
                                                Defendants-Appellees.


                  On Appeal from the United States District Court for the
                          District of Maryland, Southern Division
                   (No. 8:23-cv-1380) (The Hon. Deborah L. Boardman)


             BRIEF OF AMICUS CURIAE PROFESSOR JUSTIN DRIVER



                                                        AMANDA FLUG DAVIDOFF
                                                        DANIEL J. RICHARDSON
                                                        CASON J.B. REILY
                                                        SULLIVAN & CROMWELL LLP
                                                        1700 New York Avenue NW
                                                        Washington, DC 20006
                                                        (202) 956-7500
                                                        davidoffa@sullcrom.com
USCA4 Appeal: 23-1890             Doc: 99               Filed: 10/30/2023             Pg: 2 of 34




                                                 TABLE OF CONTENTS
                                                                                                                            Page
        Interest of the Amicus Curiae ............................................................................... 1

        Introduction and Summary of Argument ............................................................. 2

        Argument .................................................................................................................. 5

        I. Appellants’ Free Exercise Theory Would Destabilize Existing
           Doctrine and Prove Unworkable in Practice ................................................. 5

                 A.        Supreme Court Precedent Interpreting the Religion
                           Clauses Has Established a Stable Framework That
                           Accommodates Competing Interests................................................ 5

                 B.        Allowing Free Exercise Challenges to Public-School
                           Curricular Choices Would Unwind the Existing
                           Framework and Harm Public Education ....................................... 15

        II. Appellants’ Free Exercise Theory Would Allow Private Parties to
            Impermissibly Regulate Government Speech ............................................. 20

        Conclusion ............................................................................................................... 26




                                                                    -i-
USCA4 Appeal: 23-1890           Doc: 99             Filed: 10/30/2023           Pg: 3 of 34




                                           TABLE OF AUTHORITIES

                                                                                                               Page(s)

        Cases

        Agostini v. Felton,
          521 U.S. 203 (1997).......................................................................................... 7, 9

        Bauchman v. West High Sch.,
          132 F.3d 542 (10th Cir. 1997) ........................................................................... 14

        Board of Educ. of Westside Cmty. Schs. v. Mergens,
          496 U.S. 226 (1990)........................................................................................ 8, 12

        Bowen v. Roy,
          476 U.S. 693 (1986)...................................................................................... 13, 15

        California Parents for Equalization of Educ. Materials v.
          Torlakson, 973 F.3d 1010 (9th Cir. 2020) ........................................... 17, 24, 25

        Carson v. Makin,
          596 U.S. ___(2022) ............................................................................................ 10

        Engel v. Vitale,
          370 U.S. 421 (1962).......................................................................................... 6, 7

        Espinoza v. Montana Dept. of Revenue,
          591 U.S. ___ (2020) ........................................................................................... 11

        Fellowship of Christian Athletes v. San Jose Unified
           Sch. Dist. Bd. of Educ., 82 F.4th 664 (9th Cir. 2023) ...................................... 8

        Fleischfresser v. Directors of Sch. Dist. 200,
           15 F.3d 680 (7th Cir. 1994) ......................................................................... 14, 17

        Florey v. Sioux Falls Sch. Dist. 49-5,
           619 F.2d 1311 (8th Cir. 1980) ........................................................................... 16

        Grove v. Mead Sch. Dist. No. 354,
          753 F.2d 1528 (9th Cir. 1985) ........................................................................... 14



                                                               -ii-
USCA4 Appeal: 23-1890            Doc: 99             Filed: 10/30/2023           Pg: 4 of 34




        Hazelwood Sch. Dist. v. Kuhlmeier,
          484 U.S. 260 (1988)............................................................................................ 22

        A.H. ex rel. Hernandez v. Northside Independent Sch. Dist.,
          916 F. Supp. 2d 757 (W.D. Tex. 2013)............................................................. 17

        Johanns v. Livestock Marketing Ass’n,
          544 U.S. 550 (2005)............................................................................................ 21

        Keller v. State Bar of Cal.,
          496 U.S. 1 (1990)................................................................................................ 25

        Kennedy v. Bremerton Sch. Dist.,
          597 U.S. ___ (2022) ........................................................................................... 19

        Lee v. Weisman,
          505 U.S. 577 (1992).......................................................................................... 6, 7

        Loving v. Virginia,
          388 U.S. 1 (1967)................................................................................................ 23

        Mahanoy Area Sch. Dist. v. B.L.,
          594 U.S. ___ (2021) ........................................................................................... 25

        Meyer v. Nebraska,
          262 US. 390 (1923)............................................................................................... 9

        Milliken v. Bradley,
          418 U.S. 717 (1974)............................................................................................ 11

        Mitchell v. Helms,
          530 U.S. 793 (2000).......................................................................................... 7, 9

        Morrison ex rel. Morrison v. Board of Educ. of Boyd Cnty., Ky.,
          419 F. Supp. 2d 937 (E.D. Ky. 2006) ............................................................... 17

        Morse v. Frederick,
          551 U.S. 393 (2007) ........................................................................................... 22

        Mozert v. Hawkins Cnty. Bd. of Educ.,
          827 F.2d 1058 (6th Cir. 1987) ..................................................................... 14, 16



                                                                -vii-
USCA4 Appeal: 23-1890            Doc: 99             Filed: 10/30/2023            Pg: 5 of 34




        Parker v. Hurley,
          514 F.3d 87 (1st Cir. 2008) ............................................................................... 14

        Pierce v. Society of the Sisters of the Holy Names of
           Jesus and Mary, 268 U.S. 510 (1925) ............................................................. 10

        Pleasant Grove City, Utah v. Summun,
           555 U.S. 460 (2009)...................................................................................... 20, 21

        Rust v. Sullivan,
          500 U.S. 173 (1991)............................................................................................ 21

        San Antonio Indep. Sch. Dist. v. Rodriguez,
          411 U.S. 1 (1973)................................................................................................ 12

        Santa Fe Indep. Sch. Dist. v. Doe,
          530 U.S. 290 (2000).............................................................................................. 7

        School Dist. of Abington Twp., Pa. v. Schempp,
          374 U.S. 203 (1963).............................................................................................. 7

        Stone v. Graham,
           449 U.S. 39 (1980)................................................................................................ 7

        Swanson v. Guthrie Indep. Sch. Dist. No. I-L,
          135 F.3d 694 (10th Cir. 1998) ........................................................................... 14

        Trinity Lutheran Church of Columbia, Inc. v. Comer,
           582 U.S. 449 (2017).............................................................................................. 6

        Turner v. City Council of City of Fredericksburg, Va.,
          534 F.3d 352 (4th Cir. 2008) ............................................................................. 21

        United States v. Lee,
          455 U.S. 252 (1982)...................................................................................... 13, 18

        Wallace v. Jaffree,
          472 U.S. 38 (1984).......................................................................................... 8, 10

        Wisconsin v. Yoder,
          406 U.S. 205 (1972).......................................................................... 10, 13, 14, 15



                                                                -vii-
USCA4 Appeal: 23-1890            Doc: 99             Filed: 10/30/2023           Pg: 6 of 34




        Zelman v. Simmons-Harris,
           536 U.S. 639 (2002).................................................................................... 5, 9, 11

        Constitutional Provision

        U.S. Const. amend. I................................................................................................ 5

        Other Authorities

        Ian Dooley, Banned Books Week 2019: And Tango Makes Three,
           Cotsen Children’s Library (Sept. 23, 2019) ............................................. 18, 24

        Justin Driver, The Schoolhouse Gate: Public Education,
          the Supreme Court, and the Battle for the
          American Mind (2018) ........................................................................... passim

        Justin Driver, Three Hail Marys: Carson, Kennedy, and the
          Fractured Détente over Religion and Education,
          136 Harv. L. Rev. 208 (2017) ............................................................................. 9

        EdChoice, The ABCs of School Choice (2021) .................................................... 11

        Cynthia Greenlee, Banned Bunnies, N.Y. Times (Apr. 26, 2023) ................... 24

        Maryland Department of Education,
          High School United States History Framework (Sept. 2020) .................... 23

        National Center for Education Statistics,
          Private School Enrollment, (May 2022) ........................................................ 11

        Pew Research Center, For a Lot of American Teens, Religion
          Is a Regular Part of the Public School Day (Oct. 3, 2019) .......................... 11

        Brian D. Ray, Research Facts on Homeschooling
           Nat’l Home Educ. Rsch. Inst., (July 20, 2023) .............................................. 11

        J. Harvie Wilkinson III, Goss v. Lopez: The Supreme Court as
           School Superintendent, 1975 Sup. Ct. Rev. 25 (1975) ............................ 12, 19

        Mary Zawadzki, Banned Book Week 2019: Strega Nona,
          Cotsen Children’s Library (Sept. 27, 2019) ................................................... 18



                                                                -vii-
USCA4 Appeal: 23-1890   Doc: 99       Filed: 10/30/2023   Pg: 7 of 34




                          INTEREST OF THE AMICUS CURIAE

              Justin Driver is the Robert R. Slaughter Professor of Law at Yale Law

        School. An elected fellow of the American Law Institute and the American

        Academy of Arts and Sciences, he teaches and writes on constitutional law and

        public education. Driver is the author of The Schoolhouse Gate: Public

        Education, the Supreme Court, and the Battle for the American Mind (2018),

        which received the Steven S. Goldberg Award for Distinguished Scholarship

        in Education Law, and was selected as a Washington Post notable book of the

        year. Professor Driver submits this brief to inform the Court of the broader

        constitutional context that supports the district court’s decision in this case.

        Professor Driver has no personal interest in the outcome of this case.1




        1
          Amicus affirms that no party or counsel for any party authored this brief in
        whole or in part and that no one other than Amicus or its counsel contributed
        any money that was intended to fund the preparation or submission of this
        brief. The parties have consented to this filing.
USCA4 Appeal: 23-1890   Doc: 99       Filed: 10/30/2023   Pg: 8 of 34




                  INTRODUCTION AND SUMMARY OF ARGUMENT

              Appellants claim that Montgomery County Public Schools (“MCPS”)

        violated their rights under the Free Exercise Clause by “compel[ling] them

        and their children to participate in instruction prohibited by their faith.”

        Appellants’ Br. 24. The district court rejected that claim, reasoning that

        “[e]very court that has addressed the question has concluded that the mere

        exposure in public school to ideas that contradict religious beliefs does not

        burden the religious exercise of students or parents.” J.A. 755–756 (collecting

        cases).

              That decision was correct. As Appellees explain, there is “uniform

        judicial consensus that mere exposure in public school to ideas that contradict

        religious beliefs does not burden religious exercise.” Appellees’ Br. 16. But

        more than that, the district court’s decision adhered to a longstanding body of

        law at the intersection of constitutional law and public education in the United

        States. In recent decades, the Supreme Court has decided a number of cases

        that accommodate the needs of religious communities in the educational

        system. These decisions have permitted students to engage in religious

        expression in public schools and upheld state and local programs that make

        public funds available to parents who wish to enroll their children in private



                                              -2-
USCA4 Appeal: 23-1890   Doc: 99       Filed: 10/30/2023   Pg: 9 of 34




        religious institutions. But the Court has also repeatedly emphasized the

        importance of local control over education, and has never endorsed Free

        Exercise theories that would shift that control from democratically elected

        officials to federal courts or inhibit constitutionally protected government

        speech. Taken together, the Court’s decisions have struck a careful balance,

        one that aligns the values of the First Amendment with the central importance

        of public education in American life.

              A decision in Appellants’ favor would disturb that balance. Although

        Appellants claim to seek only “modest relief” in this case, Appellants’ Br. 25,

        their theory of the First Amendment is anything but modest. To the contrary,

        their extravagant theory would routinely require MCPS and every other

        public school system across the country to offer student-specific instruction

        when parents suspect that an idea or message expressed as part of a public-

        school curriculum conflicts with the tenets of their faith. The result is both

        unworkable and undemocratic.            Schools would be unable to function

        effectively, as parents would have the right to flyspeck curricula in a wide

        range of academic subjects, including English, history, science, and civics

        education. And schools would be discouraged from providing the education




                                                -3-
USCA4 Appeal: 23-1890   Doc: 99       Filed: 10/30/2023   Pg: 10 of 34




        they believe to be most valuable, in favor of making choices that—they hope,

        but can never know—would provoke the fewest parents to opt out.

              That chilling effect holds implications beyond the Free Exercise Clause.

        The Supreme Court’s Free Speech cases have recognized that it does not

        violate the Constitution for the government itself to engage in speech that

        addresses particular content or espouses a specific viewpoint.             That

        principle—known as the government speech doctrine—plays an important

        role in a democratic society, allowing the government to remain responsive to

        the local community and to raise topics—like the importance of respect and

        responsibility—that enjoy community support. And it is vital in public schools,

        which are entrusted with the responsibility of instilling civic values. But if

        individual parents are able to successfully challenge curricular decisions under

        the Free Exercise Clause, public schools would be chilled from addressing

        important topics.

              In rejecting Appellants’ claims, the district court adhered to precedent

        and refused to adopt a theory that would conflict with the Supreme Court’s

        Free Exercise and Free Speech jurisprudence.          Its judgment should be

        affirmed.




                                              -4-
USCA4 Appeal: 23-1890   Doc: 99       Filed: 10/30/2023     Pg: 11 of 34




                                        ARGUMENT

         I.   Appellants’ Free Exercise Theory Would Destabilize Existing
              Doctrine and Prove Unworkable in Practice.

              The Supreme Court has made clear that the Religion Clauses do not bar

        all religious expression in public schools, nor do they prevent communities

        from providing financial aid to parents wishing to pursue religious education

        outside the public school system. But at the same time, the Court’s decisions

        have never endorsed a constitutional right for parents to dictate that public

        schools provide their children with a curriculum tailored to their faith. Such a

        right would undermine the Court’s decisions recognizing the importance of

        local control over public schools and would prove entirely unworkable in

        practice.

              A.    Supreme Court Precedent Interpreting the Religion Clauses
                    Has Established a Stable Framework That Accommodates
                    Competing Interests.

              1.    The First Amendment of the Constitution provides that

        “Congress shall make no law [1] respecting an establishment of religion, or

        [2] prohibiting the free exercise thereof.”       U.S. Const. amend. I.   Those

        Religion Clauses prevent “a State from enacting laws that have the ‘purpose’

        or ‘effect’ of advancing or inhibiting religion,” Zelman v. Simmons-Harris,

        536 U.S. 639, 648–649 (2002) (citation omitted), while also “protect[ing]



                                              -5-
USCA4 Appeal: 23-1890   Doc: 99          Filed: 10/30/2023   Pg: 12 of 34




        religious observers against unequal treatment” by the government, Trinity

        Lutheran Church of Columbia, Inc. v. Comer, 582 U.S. 449, 458 (2017) (citation

        omitted). The Religion Clauses ensure that families who enroll their children

        in public schools remain free from religious coercion, but do not require

        students to shed their religious identity at the schoolhouse gate. The Supreme

        Court’s interpretation of the clauses recognizes the unique role that public

        schools play in American life.

              a.    The Court’s Establishment Clause precedent ensures that

        children will not be exposed to state-sponsored religious expression as a

        condition of attending public school. Those decisions recognize the coercive

        effect of the government’s endorsement of particular faiths and “demonstrate

        awareness” that “this religiously diverse nation must take special steps to

        forestall any notion that simply receiving an education subjects students to

        proselytization.” Justin Driver, The Schoolhouse Gate 362–363 (2018).

              Since Engel v. Vitale, 370 U.S. 421 (1962), the Court has time and again

        held that the Establishment Clause protects public-school students from

        anything approaching “an attempt to employ the machinery of the State to

        enforce a religious orthodoxy.” Lee v. Weisman, 505 U.S. 577, 592 (1992).

        Applying that principle, the Court has struck down various forms of state-



                                                 -6-
USCA4 Appeal: 23-1890   Doc: 99         Filed: 10/30/2023   Pg: 13 of 34




        sponsored religious expression, including prayer in the classroom or at other

        school-sponsored events.        See id. (clergy-led prayer at public-school

        graduation ceremonies); Engel, 370 U.S. at 421 (recitation of official state

        prayer); School Dist. of Abington Twp., Pa. v. Schempp, 374 U.S. 203 (1963)

        (daily Bible readings in public schools); Stone v. Graham, 449 U.S. 39 (1980)

        (mandatory posting of Ten Commandments in public-school classrooms);

        Santa Fe Indep. Sch. Dist. v. Doe, 530 U.S. 290 (2000) (state-backed prayer at

        public school football games). It has also barred state and local governments

        from providing “direct aid to religious schools” through various public funding

        programs. Mitchell v. Helms, 530 U.S. 793, 842–844 (2000) (O’Connor, J.,

        concurring in the judgment) (controlling opinion); see also Agostini v. Felton,

        521 U.S. 203, 225–226 (1997).

              b.    At the same time, the Court has not barred religion from the

        public school system or erected an impermeable barrier between public funds

        and religious education. Santa Fe, 530 U.S. at 302 (“[T]here is a crucial

        difference between government speech endorsing religion, which the

        Establishment Clause forbids, and private speech endorsing religion, which

        the Free Speech and Free Exercise Clauses protect.” (citation omitted)

        (emphasis in orginal)). Instead, its decisions emphatically reject “the notion



                                                -7-
USCA4 Appeal: 23-1890    Doc: 99       Filed: 10/30/2023   Pg: 14 of 34




        that religion and education must remain wholly separate,” and make clear that

        students may “attend[] public schools” without “abandoning their religious

        identities.” The Schoolhouse Gate at 393–395.

              First, the Court’s decisions allow students to engage in individual

        religious expression while in public schools. See id. at 394–399. In Wallace v.

        Jaffree, 472 U.S. 38 (1984), the Court struck down an Alabama statute

        authorizing moments of silence in public school “for meditation or voluntary

        prayer.” The Schoolhouse Gate at 396. But in so doing, the Court issued a

        decision that was broadly supportive of other “moment-of-silence statutes,”

        which do not refer to prayer and “provide students who wish to pray with an

        opportunity to do so.” Id. at 397 (explaining that Wallace was hailed as a

        “victory” for religious expression at the time). Similarly, the Court has held

        that schools may provide “equal access” to school facilities for religious

        student organizations without violating the Establishment Clause. Board of

        Educ. of Westside Cmty. Schs. v. Mergens, 496 U.S. 226, 247–253 (1990); see

        also Fellowship of Christian Athletes v. San Jose Unified Sch. Dist. Bd. of

        Educ., 82 F.4th 664, 672, 685–693 (9th Cir. 2023) (en banc) (holding that a

        school district violated the Free Exercise Clause by “penaliz[ing]” a student

        group “based on its religious beliefs”).



                                               -8-
USCA4 Appeal: 23-1890    Doc: 99       Filed: 10/30/2023   Pg: 15 of 34




              Second, the Court has held that the Establishment Clause does not

        prevent state and local governments from providing indirect, neutral financial

        support for families who wish to enroll their children in religious schools.

        Zelman , 536 U.S. at 644–645 (upholding school-choice program that provided

        tuition aid for students attending religious schools); see also Mitchell, 530 U.S.

        at 843 (upholding program by which “government aid supports a school’s

        religious mission only because of independent decisions made by numerous

        individuals”) (O’Connor, J., concurring in the judgment); Agostini, 521 U.S. at

        225–226 (holding government may make tuition aid “available generally

        without regard to the sectarian-nonsectarian, or public-nonpublic nature of the

        institution benefited”) (citation omitted).    As a result of these decisions,

        communities can use tax dollars to support religious education, so long as

        religious schools are treated on the same terms as other private schools.

              Third, the Court’s decisions under both the Free Exercise Clause and

        the Due Process Clause provide religious parents with broad rights to instruct

        their children outside of the public school system. A century ago, the Court

        recognized the right of Nebraska’s Zion Parochial School to provide Biblical

        instruction to the children of German families in their native tongue. See

        Meyer v. Nebraska, 262 U.S. 390 (1923); see also Justin Driver, Three Hail



                                               -9-
USCA4 Appeal: 23-1890    Doc: 99       Filed: 10/30/2023   Pg: 16 of 34




        Marys: Carson, Kennedy, and the Fractured Détente over Religion and

        Education, 136 Harv. L. Rev. 208, 234 (2022). Just two years later, the

        Supreme Court emphatically rejected Oregon’s effort to mandate public-

        school attendance and prevent parents from providing “[s]ystematic religious

        instruction and moral training according to the tenets of the Roman Catholic

        Church.” Pierce v. Soc’y of the Sisters of the Holy Names of Jesus and Mary,

        268 U.S. 510, 532 (1925). The Court’s more recent Free Exercise decisions

        chart a similar course, ensuring that States do not discriminate against

        parents who wish to educate their children in private religious schools, Carson

        v. Makin, 596 U.S. ___ (2022), and do not compel public-school attendance

        when doing so would pose a “danger to the continued existence of an ancient

        religious faith.” Wisconsin v. Yoder, 406 U.S. 205, 218 n.9 (1972).

              The facts on the ground demonstrate the importance of these decisions

        for religious expression. Thirty-four states have enacted statutes authorizing

        or requiring moments of silence consistent with the decision in Wallace. See

        The Schoolhouse Gate at 397.        Many families across the country take

        advantage of private-school voucher programs, including programs like the




                                              -10-
USCA4 Appeal: 23-1890    Doc: 99       Filed: 10/30/2023   Pg: 17 of 34




        one upheld in Zelman,2          and three million American children are

        homeschooled.3 And private religious expression remains commonplace in

        public education, as students routinely wear religious clothing or jewelry,

        engage in prayer, and organize on-campus religious clubs.4

              2.    Although the Court’s decisions have supported various forms of

        religious expression in education, the Court has never embraced theories that

        would allow individual parents or students to dictate public school curricula

        that reinforce their religious beliefs every step of the way.

              The Supreme Court has recognized that “local autonomy has long been

        thought essential both to the maintenance of community concern and support

        for public schools and to quality of the educational process.” Milliken v.


        2
         250,000 children use public vouchers to attend private school. See EdChoice,
        The ABCs of School Choice 25 (2021), https://www.edchoice.org/wp-
        content/uploads/2021/03/2021-ABCs-of-School-Choice-WEB-2-24.pdf. Some
        of these students are among the 3.5 million children nationwide that attend
        private religious schools (of the 4.7 million attending all private schools). See
        Private School Enrollment, Nat’l Ctr. for Educ. Stats., (May 2022)
        https://nces.ed.gov/programs/coe/indicator/cgc/private-school-enrollment.
        3
         Brian D. Ray, Research Facts on Homeschooling, Nat’l Home Educ. Rsch.
        Inst.,  (July    20,    2023),   https://www.nheri.org/research-facts-on-
        homeschooling/.
        4
         For a Lot of American Teens, Religion Is a Regular Part of the Public School
        Day,          Pew        Rsch.         Ctr.        (Oct.      3,       2019),
        https://www.pewresearch.org/religion/2019/10/03/for-a-lot-of-american-teens-
        religion-is-a-regular-part-of-the-public-school-day/.


                                              -11-
USCA4 Appeal: 23-1890     Doc: 99      Filed: 10/30/2023   Pg: 18 of 34




        Bradley, 418 U.S. 717, 741–742 (1974). For that reason, the Court has been

        wary of endorsing constitutional theories that would require courts to second-

        guess public schools’ curricular decisions or saddle judges with the burden of

        overseeing the day-to-day operations of a public school system. See San

        Antonio Indep. Sch. Dist. v. Rodriguez, 411 U.S. 1, 41 (1973) (noting that

        courts lack “the expertise and the familiarity with local problems” necessary

        to manage public education); J. Harvie Wilkinson III, Goss v. Lopez: The

        Supreme Court as School Superintendent, 1975 Sup. Ct. Rev. 25, 73–74 (1975)

        (criticizing    the   effect   of   “load[ing]     upon   the     public   school

        system . . . constitutional baggage,” which hampers local communities’

        “capacity to influence” public schools).

              The Court’s Religion Clause precedents are consistent with those

        decisions. Although the Court has recognized a right for students who wish to

        engage in religious expression to be treated on the same terms as other

        students, see Mergens, 496 U.S. at 247–253, it has not required schools to make

        benefits available for certain religious groups that are not available to others.

        See Espinoza v. Montana Dept. of Revenue, 591 U.S. ___, ___(2020) (slip op.,

        at 20) (holding that, although a State “need not subsidize” religious education,

        “once a State decides to” offer a benefit, it cannot condition provision of that



                                              -12-
USCA4 Appeal: 23-1890   Doc: 99          Filed: 10/30/2023   Pg: 19 of 34




        benefit on religion). Similarly, the Court’s decision in Yoder permitted Old

        Order Amish parents to opt out of the public school system altogether where

        public school education threatened the faith’s very existence. But as the Court

        recognized in another context, “[t]he Free Exercise Clause simply cannot be

        understood to require the Government to conduct its own internal affairs in

        ways that comport with the religious beliefs of particular citizens.” Bowen v.

        Roy, 476 U.S. 693, 699 (1986).

              Appellants hang much of their argument on Yoder, which they claim

        requires schools to “shield their children from any teaching that would harm

        their formation . . . in accordance with the Parents’ religious beliefs.”

        Appellants’ Br. 20. But Yoder in no way supports judicial intrusion into the

        daily operation of public schools, which would, of course, interfere with the

        education of other students. See United States v. Lee, 455 U.S. 252, 261 (1982)

        (rejecting a Free Exercise claim that would “operate[] to impose the

        employer’s religious faith on the employees”). The Court in Yoder relied on

        the “lengthy and successful track record of the Old Order Amish as a stand-

        alone society”—and the relationship of faith to the society’s “entire mode of

        life”—to “support the claim that enforcement of the State’s requirement of

        compulsory formal education after the eighth grade would gravely endanger



                                                -13-
USCA4 Appeal: 23-1890       Doc: 99    Filed: 10/30/2023   Pg: 20 of 34




        if not destroy the free exercise of respondents’ religious beliefs.”         The

        Schoolhouse Gate at 406; Yoder, 406 U.S. at 219. It hardly follows that the

        state must afford students who can and do attend public school an individually

        tailored curriculum to conform to every potential religious objection.

        “[P]arents simply do not have a constitutional right to control each and every

        aspect of their children’s education and oust the state’s authority over that

        subject.” Swanson v. Guthrie Indep. Sch. Dist. No. I-L, 135 F.3d 694, 699

        (10th Cir. 1998).

              Lower courts, looking to the Supreme Court’s guidance on Free

        Exercise claims implicating the public school system, have uniformly rejected

        claims that parents’ religious freedoms were burdened by ideas or messages

        included in public school curricula. Parker v. Hurley, 514 F.3d 87, 107 (1st Cir.

        2008); Bauchman v. West High Sch., 132 F.3d 542, 556–558 (10th Cir. 1997);

        Fleischfresser v. Directors of Sch. Dist. 200, 15 F.3d 680, 689–690 (7th Cir.

        1994); Mozert v. Hawkins Cnty. Bd. of Educ., 827 F.2d 1058, 1065 (6th Cir.

        1987); Grove v. Mead Sch. Dist. No. 354, 753 F.2d 1528, 1533–1534 (9th Cir.

        1985). The district court followed the same course here, J.A. 770–775, and its

        decision was correct.




                                              -14-
USCA4 Appeal: 23-1890    Doc: 99        Filed: 10/30/2023   Pg: 21 of 34




              B.    Allowing Free Exercise Challenges to Public-School
                    Curricular Choices Would Unwind the Existing Framework
                    and Harm Public Education.

              The Free Exercise Clause has never been held to require the

        government to take affirmative steps to advance any individual’s religious

        beliefs. See Bowen, 476 U.S. at 699. But that is exactly what Appellants are

        asking for here. Their claim—that the Free Exercise Clause requires schools

        to serve parents a curricular buffet in order to avoid any possibility of religious

        offense—is neither warranted by precedent nor workable in practice. And it

        would transfer local control over education from democratically elected school

        boards to the loudest subset of individual parents and the courts hearing their

        claims.

              According to Appellants, the Constitution requires MCPS to indulge

        “their religious practice of shielding their elementary school children from

        ideology . . . that violates their religious beliefs,” and to provide opt-outs for

        any portion of the curriculum that conflicts with parents’ religious views.

        Appellants’ Br. 33. Although they claim that relief is “more modest” than the

        right to opt out of the public school system recognized in Yoder, id. at 25,

        Appellants severely misread Yoder. The relief in Yoder permitted parents to

        exit the public school system altogether. By contrast, a decision in Appellants’



                                               -15-
USCA4 Appeal: 23-1890    Doc: 99       Filed: 10/30/2023   Pg: 22 of 34




        favor would empower parents to flyspeck every aspect of a public school’s

        curricular decisions, and would force schools to either provide bespoke lesson

        plans for each student in accordance with his or her parents’ particular

        religious views or “sift out of their teaching everything inconsistent with [the]

        doctrines” of America’s multitudinous religious sects. Florey v. Sioux Falls

        Sch. Dist. 49-5, 619 F.2d 1311, 1318 (8th Cir. 1980) (citation omitted).

              That concern is hardly hypothetical. In Mozert, the plaintiffs raised

        religious objections to the entire textbook series adopted by Hawkins County,

        Tennessee. 827 F.2d at 1059–1061. One of the plaintiffs, Mr. Mozert, took

        issue with a story for beginning readers in which Pat, a girl, and Jim, a boy,

        prepare a meal: “Pat has a big book. Pat reads the big book. Jim reads the

        big book. Pat reads to Jim. Jim cooks.” The Schoolhouse Gate at 402 (citation

        omitted). “In Mozert’s view, this seemingly innocuous tale unconstitutionally

        impeded his ability to guide his child’s religious development because it

        communicated the idea ‘that there are no God-given roles for the different

        sexes.’ ” Id. Another plaintiff took issue with a story called “A Visit from

        Mars” because, she argued, it exposed children to “thought transfer and

        telepathy.” Id.; see Mozert, 827 F.2d at 1062.




                                              -16-
USCA4 Appeal: 23-1890    Doc: 99       Filed: 10/30/2023   Pg: 23 of 34




              Other Free Exercise cases underscore the breadth of curricular

        interference encouraged by Appellants’ theory. In the last few decades, courts

        have time and again applied settled law to reject religious challenges to public-

        school instructional choices on a wide array of subjects ranging from fantasy

        books to civics education:

                   Instructional reading books about “wizards, sorcerers, and
                    giants” for allegedly “foster[ing] a religious belief in the
                    existence of superior beings” and teaching children anti-
                    Christian values such as “tricks” and “despair.”
                    Fleischfresser, 15 F.3d at 683.

                   A social studies curriculum that did not “describe the divine
                    origins of Hinduism or discuss the sacred texts of their
                    religion,” “describe[d] Hinduism as consisting of ‘beliefs and
                    practices,’ ” and taught that the caste system “was a social
                    and cultural structure as well as a religious belief” because
                    parents saw it as “derogatory” to their religion. California
                    Parents for Equalization of Educ. Materials v. Torlakson,
                    973 F.3d 1010, 1014–1015 (9th Cir. 2020).

                   Mandatory diversity training with “positive statements
                    regarding homosexuality” because of the plaintiffs’
                    “religious beliefs that homosexuality is harmful to those who
                    practice it and harmful to society as a whole.” Morrison ex
                    rel. Morrison v. Board of Educ. of Boyd Cnty., Ky., 419
                    F. Supp. 2d 937, 940, 942 (E.D. Ky. 2006), aff’d sub nom.
                    Morrison v. Board of Educ. of Boyd Cnty., 521 F.3d 602 (6th
                    Cir. 2008).

                   Use of school “Smart ID” badges with RFID chips since the
                    plaintiff’s father “felt the chip in the badge was ‘the mark of
                    the beast.’ ”      A.H. ex rel. Hernandez v. Northside
                    Independent Sch. Dist., 916 F. Supp. 2d 757, 768 (W.D. Tex.
                    2013).

                                              -17-
USCA4 Appeal: 23-1890    Doc: 99        Filed: 10/30/2023   Pg: 24 of 34




        If courts were to recognize these sorts of claims, interference with local public

        schools would become only more intrusive and pervasive.

               Because of the scope of classroom instruction that could conflict with any

        given religious belief, schools would face the impossible choice of substantially

        narrowing their curricula (and sacrificing legitimate pedagogical goals) or

        implementing onerous and impracticable systems for giving notice and opting

        out individual students. Such a regime would harm other students, allowing

        certain parents to exercise a veto over valuable educational opportunities. See

        Lee, 455 U.S. at 261 (noting that the limits imposed by individual religious

        beliefs should not be “superimposed” on the resources the government makes

        available to others).      For example, schools considering using frequently

        challenged books like And Tango Makes Three (a picture book based on a true

        story about a pair of male penguins who together raised a chick) or Strega

        Nona (a folktale about a magic pasta pot that makes so much pasta it almost

        floods a town) would have to determine whether they could bear the classroom

        disruption and implementation costs that a book-by-book opt-out program

        would entail.5 In cash-strapped and administratively overburdened public


           5
               Ian Dooley, Banned Books Week 2019: And Tango Makes
        Three,      Cotsen       Children’s     Library     (Sept.    23,    2019)
        https://blogs.princeton.edu/cotsen/2019/09/banned-books-week-and-tango-

                                               -18-
USCA4 Appeal: 23-1890    Doc: 99        Filed: 10/30/2023   Pg: 25 of 34




        school systems, the path of least resistance would be to substantially narrow

        the curricula, thereby diminishing the quality of education for all students.

        Moreover, the result would “undermine a long constitutional tradition under

        which learning how to tolerate diverse expressive activities has always been

        part of learning how to live in a pluralistic society.” Kennedy v. Bremerton

        Sch. Dist., 597 U.S. ___, ___ (2022) (slip op., at 29) (citation omitted).

              That system would also erode local control over education. Facing a

        deluge of Free Exercise challenges across a wide range of academic subjects,

        schools would be forced into a defensive crouch, avoiding topics or ideas

        altogether even when elected officials and school administrators believe they

        are valuable. And federal courts would be forced to resolve unrelenting

        curricular disputes, determining when and how schools must tailor lesson

        plans to respond to objections from an endless parade of individual plaintiffs.

              This case vividly illustrates the harm of “inflat[ing]” the courts’

        “supervision of our public schools.” Wilkinson, supra, at 28. The materials

        challenged in this case have been the subject of active debate in Montgomery



        makes-three/; Mary Zawadzki, Banned Book Week 2019: Strega Nona,
        Cotsen         Children’s        Library       (Sept.      27,       2019)
        https://blogs.princeton.edu/cotsen/2019/09/banned-book-week-2019-strega-
        nona/.


                                               -19-
USCA4 Appeal: 23-1890     Doc: 99      Filed: 10/30/2023   Pg: 26 of 34




        County. Advocates and detractors have made their voices heard at public fora,

        and democratically accountable officials have faced scrutiny requiring them to

        defend their decisions. J.A. 743–747; Appellants’ Br. 14–15. This Court need

        not endorse the wisdom of MCPS’s curricular choices to recognize that local

        elected officials, rather than unelected judges, are best positioned to make

        them.

        II.     Appellants’ Free Exercise Theory Would Allow Private Parties to
                Impermissibly Regulate Government Speech.

                A constitutional right to opt out of public school curricula would also

        destabilize another protection of the First Amendment:            the freedom of

        speech. According to Appellants, the instructional materials at issue in this

        case “require[] teachers to emphasize ideological viewpoints.” Appellants’

        Br. 10. That contention is not supported by the record. See Appellees’ Br. 6–

        9. And if Appellants are permitted to wield a Free Exercise claim to limit the

        government’s expression in this case—where the storybooks were included in

        the curriculum only to “teach[] mutual respect,” id. at 2—that decision would

        hold staggering implications for the ability of public schools to speak on

        matters of public concern.

                1.   The Supreme Court has long recognized that “[a] government

        entity has a right to speak for itself.” Pleasant Grove City, Utah v. Summun,


                                              -20-
USCA4 Appeal: 23-1890    Doc: 99       Filed: 10/30/2023   Pg: 27 of 34




        555 U.S. 460, 467 (2009) (citation omitted). As a result, the government is

        permitted to engage in speech that addresses particular content or adopts a

        particular view, even if the government would not be permitted to regulate

        similar speech by private parties. But if Appellants’ claim succeeds here,

        public schools would be chilled from engaging in speech they believe to be

        important. Here again, the result would be less effective public schools and a

        loss of local control over public education.

              Viewpoint-discriminatory speech by the government “does not alone

        raise First Amendment concerns” if it does not compel private speech.

        Johanns v. Livestock Marketing Ass’n, 544 U.S. 550, 559 (2005).           That

        principle, known as the “government speech doctrine,” allows the state to

        encourage certain activities it believes to be in the public interest. Rust v.

        Sullivan, 500 U.S. 173, 192–200 (1991); see also Turner v. City Council of City

        of Fredericksburg, Va., 534 F.3d 352, 355 (4th Cir. 2008) (O’Connor, J.)

        (applying government speech doctrine to uphold legislative prayer against

        Free Exercise Clause claim). And it is an essential feature of government

        itself. “Indeed, it is not easy to imagine how government could function if it

        lacked this freedom.” Pleasant Grove, 555 U.S. at 468.




                                               -21-
USCA4 Appeal: 23-1890   Doc: 99       Filed: 10/30/2023   Pg: 28 of 34




              The government speech doctrine undoubtedly applies to public schools.

        The Supreme Court has repeatedly affirmed that school boards and

        administrators may regulate not only the speech of the school itself, but also

        “school-sponsored publications, theatrical productions, and other expressive

        activities that students, parents, and members of the public might reasonably

        perceive to bear the imprimatur of the school.” Hazelwood Sch. Dist. v.

        Kuhlmeier, 484 U.S. 260, 271 (1988); see also Morse v. Frederick, 551 U.S. 393,

        422–423 (2007) (Alito, J., concurring) (explaining that Kuhlmeier “allows a

        school to regulate what is in essence the school’s own speech”). Simply put,

        “[t]he government, through the public school, may say what it wishes through

        its official house organ.” The Schoolhouse Gate at 110.

              That authority over expressive content in schools is at its apex when it

        comes to public-school curricula. See id. at 45. Whereas school-sponsored

        publications and other expressive activities are ancillary to a school’s core

        pedagogical interests, the curriculum is the tool through which public schools

        advance their primary educational mission. “[S]tudents assigned to write a

        paper about the American Revolution—who would prefer to tackle the Cuban

        Revolution—[do not] have a legitimate claim to their preferred topic under the

        First Amendment[.]” Id. at 19.



                                             -22-
USCA4 Appeal: 23-1890     Doc: 99      Filed: 10/30/2023   Pg: 29 of 34




                2.   Every day, school districts across the United States make vital

        choices about their learning goals for public school students and the

        educational materials they will use to meet those objectives. Those decisions

        will invariably conflict with the religious views of at least some families in the

        community. But to label every dispute between the government’s educational

        speech and private religious beliefs as “coercion” would—by effectively

        handing each individual member of the school community a constitutional veto

        power over core government speech—undermine the government’s

        longstanding ability to express certain viewpoints.

                Real world examples illustrate the point. Maryland’s high-school social

        studies curriculum includes learning goals that ask students to assess how

        1920s trends “perpetuated racism and discrimination,” and look favorably

        upon the civil rights movement and the importance of “[]equal access to

        economic opportunity, public accommodations, and political participation.”

        High School United States History Framework, Md. Dept. of Educ. (Sept.

        2020)        https://www.marylandpublicschools.org/about/Documents/DCAA/

        SocialStudies/HSUS.pdf.        Those choices express racially egalitarian

        viewpoints that could be challenged—and have been challenged—as

        incompatible with private religious belief. See, e.g., Loving v. Virginia, 388



                                              -23-
USCA4 Appeal: 23-1890    Doc: 99       Filed: 10/30/2023   Pg: 30 of 34




        U.S. 1, 3 (1967) (quoting trial judge’s opinion that “[t]he fact that [God]

        separated the races shows that he did not intend for the races to mix”).6

              Or consider the facts of Torlakson, 973 F.3d 1010. In 1998, California

        adopted a curriculum that “outline[d] the history of the world’s first major

        civilizations and religions, and invite[d] sixth grade students to engage in

        critical analyis of the geographic, political, economic, religious, and social

        structures of each civilization, including Ancient India.” Id. at 1013–1014

        (quotation marks omitted).      Hindu parents objected to the curriculum’s

        content on Ancient India, arguing that it interfered with their religious

        exercise. Id. at 1015. In rejecting the claim, the Ninth Circuit noted that the

        suit would disrupt the State’s ability to present a “balanced portrayal of

        different world religions.” Id. at 1022. Judge Bress emphasized this point in

        his concurrence, explaining that the plaintiffs’ suit “would paralyze educators

        in their lawful objective of treating religion as a topic relevant to world

        history.” Id. (Bress, J., concurring).


        6
          There is a long lineage of parental objection to school speech describing
        interracial     or      same-sex       unions.             See      Cynthia
        Greenlee,    Banned     Bunnies,     N.Y.     Times    (Apr.    26,   2023)
        https://www.nytimes.com/2023/04/26/books/review/garth-williams-the-
        rabbits-wedding-banned-books.html (describing parental revolt over a
        storybook involving “a male black rabbit and his white female
        playmate”); Dooley, supra note 5.


                                                 -24-
USCA4 Appeal: 23-1890    Doc: 99       Filed: 10/30/2023   Pg: 31 of 34




              This Court should not carve into the government speech doctrine a

        school-shaped hole. What Appellants frame as a “modest” opt-out remedy

        would radically reshape our nation’s public school system. Supra § II.B. If

        Appellants prevail, school boards seeking to promote a learning objective or

        community value would be hamstrung: faced with Appellants’ logistically

        untenable proposal to shuttle individual students in and out of class according

        to their religious beliefs, they would likely excise any potentially offensive

        elements from their curricula. This sea change would severely chill schools’

        ability to set learning goals that address issues of community concern or to

        carry out their responsibility as “nurseries of democracy” that instruct

        students how to engage in public discourse. Mahanoy Area Sch. Dist. v. B.L.,

        594 U.S. ___, ___ (2021) (slip op., at 7). As Chief Justice Rehnquist put it in

        Keller v. State Bar of Cal.: “If every citizen were to have a right to insist that

        no one paid by public funds express a view with which he disagreed, debate

        over issues of great concern to the public would be limited to those in the

        private sector, and the process of government as we know it radically

        transformed.” 496 U.S. 1, 12–13 (1990).




                                              -25-
USCA4 Appeal: 23-1890   Doc: 99       Filed: 10/30/2023      Pg: 32 of 34




                                       CONCLUSION

              The district court correctly held that Appellants do not have a

        constitutional right to compel public schools to furnish students with a

        curriculum tailored to their particular religious beliefs. This Court should

        affirm the district court’s judgment.

                                                       Respectfully submitted,

                                                        /S/ Amanda Flug Davidoff
                                                        AMANDA FLUG DAVIDOFF
                                                        DANIEL J. RICHARDSON
                                                        CASON J.B. REILY
                                                        SULLIVAN & CROMWELL LLP
                                                        1700 New York Avenue, NW
                                                        Washington, DC 20006-5215
                                                        (202) 956-7500
                                                        davidoffa@sullcrom.com

        OCTOBER 30, 2023




                                                -26-
USCA4 Appeal: 23-1890   Doc: 99       Filed: 10/30/2023   Pg: 33 of 34




                        CERTIFICATE OF COMPLIANCE
                 WITH TYPEFACE AND WORD COUNT LIMITATIONS

              I, Amanda Flug Davidoff, counsel for amicus curiae Professor Justin

        Driver and a member of the Bar of this Court, certify, pursuant to Federal

        Rule of Appellate Procedure 32(a)(7)(B), that the attached Brief is

        proportionately spaced, has a typeface of 14 points or more, and contains 5,184

        words.

                                                   /s/ Amanda Flug Davidoff
                                                   AMANDA FLUG DAVIDOFF

        OCTOBER 30, 2023
USCA4 Appeal: 23-1890   Doc: 99       Filed: 10/30/2023   Pg: 34 of 34




                               CERTIFICATE OF SERVICE

              I, Amanda Flug Davidoff, counsel for amicus curiae Professor Justin

        Driver and a member of the Bar of this Court, certify that, on October 30, 2023,

        a copy of the attached Brief was filed electronically through the CM/ECF

        system with the Clerk of this Court.       The participants in this case are

        registered CM/ECF users and service will be accomplished by the CM/ECF

        system.


                                                    s/ Amanda Flug Davidoff
                                                   AMANDA FLUG DAVIDOFF

        OCTOBER 30, 2023
